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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                              WEST PALM BEACH DIVISION


  PUES FAMILY TRUST IRA,                      CASE NO.: 19-MC-80024 DMM
  MICHAEL PUES EXECUTOR,
  vs.

  PARNAS HOLDINGS, INC. AND
  LEV PARNAS,

        Debtors.
  _________________________________________/

            DEBTORS’, LEV PARNAS AND PARNAS HOLDINGS, INC.,
    OBJECTIONS, MOTION TO QUASH AND MOTION FOR PROTECTIVE ORDER

        Debtors, LEV PARNAS and PARNAS HOLDINGS, INC., object to the production,

      review, inspection or copying of the items sought by the creditor, PUES FAMILY TRUST

      IRA, from non-party Global Energy Producers, LLC (“GEP”), and move pursuant to

      Federal Rules of Civil Procedure 45(d)(2)(B), 45(d)(3)(A)(iii) and 45(d)(3)(B)(i), for a

      Protective Order on and to Quash the Subpoena to Produce Documents issued pursuant to

      that certain Judgment Creditor’s Notice of Subpoena dated March 4, 2019, directed to

      Global Energy Producers, LLC (hereafter the “GEP Subpoena”), and, in support states:

                                   BRIEF INTRODUCTION

        This lawsuit involves the attempts to collect on a judgment entered in federal Court in

      New York against LEV PARNAS and PARNAS HOLDINGS, INC. for breach of contract.

        The subpoenaed entity, Global Energy Producers, LLC, is not a party to the New York

      action, not a party in the instant case and not a judgment debtor.

        The judgment creditor, PUES FAMILY TRUST IRA, seeks a substantial amount of

      documentation and items from GEP which are not related to its attempt to collect on its
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      judgment. The items also cross the line into GEP’s business practices and seek proprietary

      and confidential information which PUES it not entitled to obtain. The scope of the

      subpoena it too broad and seeks items which far exceed the allowable scope of production

      from a non-party. Debtors, LEV PARNAS and PARNAS HOLDINGS, INC., request that

      the Court grant this Motion and uphold these Objections, Quash the Subpoena and/or enter

      a Protective Order on the items requested and sought in the Subpoena.

                     DOCUMENTS SOUGHT IN THE GEP SUBPOENA

        The Subpoena to Produce Documents, Information and Objects directed to GEP seeks:

     1. All records pertaining to compensation of LEV PARNAS by GEP. This category of

     documents and items is not objected to.

     2. All documents signed by LEV PARNAS on behalf of GEP from April 1, 2018 – the

     present, including bank deposit agreements, political action committee finance documents,

     checks, leases and operating agreements. This category of documents is objected to on the

     basis that it seeks items that have no relevance to locating any assets of PARNAS which

     might be used to satisfy the judgment and that contain confidential business and commercial

     information of GEP.

        a.      Bank deposit agreements detail the operation and banking activity of GEP and not

     of LEV PARNAS individually. The only relevant deposit agreements would be ones which

     show LEV PARNAS as an account holder; otherwise they should not be disclosed or

     produced to PUES.

        b.      Political action committee finance documents are also irrelevant to the attempt to

     collect on the PUES judgment. The judgment is not against GEP and to require GEP to

     disclose these items infringes on its right to freely be involved in the political arena and to


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     make political contributions to candidates, parties or causes without having to disclose to

     third parties to whom or for what causes GEP is contributing to; or what the reasons,

     amounts, basis and goals are for such political actions or contributions. These documents

     and items should be kept confidential so as not to have a chilling effect on GEP’s right to

     participate in the political process. There has been no showing made that any PAC finance

     documents show or would tend to show the diversion of funds to LEV PARNAS individually

     or to PARNAS HOLDINGS, INC. by GEP through some political action committee. These

     items contain confidential commercial information about GEP which have nothing to do with

     any assets of LEV PARNAS.

        c.      Any checks, leases or operating agreements of GEP which were signed by LEV

     PARNAS similarly should not be required to be produced. These items are also confidential

     commercial records and information. Any checks payable to LEV PARNAS from GEP are

     already sought as a part of Request No. 1, but all other GEP checks should be protected from

     disclosure to PUES. Leases and operating agreements for GEP are similarly proprietary to

     GEP and are confidential commercial records - unless the leases and operating agreements

     bestow some financial rights, compensation, assets or monetary benefits on LEV PARNAS

     they should protected from discovery as a part of PUES’ general fishing expedition.

     3. List of all officers, managers and employees affiliated with GEP. This category is not

     objected to.

     4. Any correspondence made by LEV PARNAS on behalf of GEP from April 1, 2018 until

     the present. This category is objected to as it seeks all correspondence from PARNAS which

     he “made” on behalf of GEP. This would include any and all confidential or proprietary

     letters and documents that involve the operation, financial status, business plans and


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     strategies of GEP. This request is not limited to only correspondence which would reflect

     payments to PARNAS, debts or amounts due to PARNAS, the transfer of assets to PARNAS

     from GEP or other, relevant items which would be reasonable related to discovering assets of

     PARNAS which might be subject to levy or execution to pay the PUES’ judgment.

                                                ARGUMENT

     7. An Objection to the Subpoena for Production of Documents may be filed in this matter

     pursuant to Fed. R. Civ. P. 45(d)(2)(B).

     8. The Court must quash or modify a (non-party) subpoena if it requires the disclosure of

     privileged or other protected matters pursuant to Fed. R. Civ. P. 45(d)(3)(A)(iii).

     9. The Court may quash or modify a (non-party) subpoena if it requires the disclosure of

     confidential research or commercial information pursuant to Fed. R. Civ. P. 45(d)(3)(B)(i).

     10. When confidential information is sought from a non-party, the Court must determine

     whether the requesting party establishes a need for the information that outweighs the

     privacy rights of the non-party.

     11. In the instant case the GEP Subpoena seeks irrelevant, sensitive, private and confidential

     business and commercial information about Global Energy Producers, LLC as it relates to its

     protected confidential business operations, political activities and contributions and no

     showing of a need by PUES which outweighs GEP’s privacy rights has been made.

     12. LEV PARNAS and PARNAS HOLDINGS, INC., contend that they have shown the

     requisite good cause and legal basis for entry of an Order upholding these Objections,

     Quashing the Subpoena to GEP and/or granting the Motion for a Protective Order.

            WHEREFORE, Debtors, LEV PARNAS and PARNAS HOLDINGS, INC.,

     respectfully requests that this Court grant this Motion, uphold their Objections, Quash the


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      Subpoena and/or enter a Protective Order providing that GEP shall not be required to

      produce any documents, records or other items or information which are objected to or

      claimed confidential, proprietary or contain confidential commercial information as set forth

      above and, shall only produce those items which show or reflect assets of or payments by

      GEP to LEV PARNAS.

                                                    /s/ Chris Alan Draper
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                                                    PARNAS HOLDINGS, INC.
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                                                    Jane.turner@gmlaw.com

                                   CERTIFICATE OF SERVICE

           I HEREBY CERTIFY that I electronically filed the foregoing with the Clerk of the

      Court and furnished a copy via email to: Tony Andre, Esquire, The Andre Law Firm, P.A.,

      18851 NE 29th Avenue, Suite 724, Aventura, FL                       33180; Ph. 786-708-0813;

      andre@andrelaw.com, on this 19th day of March, 2019. I also certify that I am admitted to

      the United States District Court for the Southern District of Florida.

                                                    /s/ Chris Alan Draper
                                                    Chris A. Draper, Esquire
                                                    Florida Bar No. 0838640




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